Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (NonPrisoner)



                                       TT1~TITED STATES DISTRICT COURT
                                                                           for the                                                NOV 15 2021                  DB

                                                            Middle District of Tennessee                                U.S• DISTRICIO CURT
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                                                                                                                     MIL7)IJ-
                                                                                Division

                        Isabella Theodoro
                         Peter Theodoro                                              Case No.           (1 3 - 2 1             08 s o
                                                                                                       (to be filled in by the Clerk's Office)

                              Plaintiff(s)
(IT'rite the fidl name of each plaintiff who isfiling this complaint.
If the names of all the plaintiffs cannotfit in the space above,                     Jury Trial:   (check one)   0    Yes      [ —]No
please write "see attached" in the space and attach an additional
page with the full list of names.)
                                 -V-
 The State of Connecticut Department of Children and
         Families, and others (see attached)


                           Defendant(s)
(TPrite the fidl name of each defendant who is being sued If the
names of all the defendwits camot fit in the space abm e, please
write "see attached" in the space and attach an additional page
with the fill list of names. Do not inchide addresses here)



                                 COMPLAINT FOR VIOLATION OF CIVIC, RIGHTS
                                           (Non-Prisoner Complaint)


                                                                        NOTICE

   Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
   electronic court files. Under this rule, papers filed with the court should not contain: an individual's fill social
   security number or full birth date; the full name of a person known to be a minor; or a complete financial account
   number. A filing may include on1y: the last four digits of a social security number; the year of an individual's
   birth; a minor's initials; and the last four digits of a financial account number.

   Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
   other materials to the Clerk's Office with this complaint.

   In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
   forma pauperis.




                                                                                                                                                 Page 1 of 6



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Pro Se 15 (Rev. 12/16) Complaint for violation of Civil Rights (Non—Prisoner)

I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the infortuation below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                         Isabella Theodoro and Peter Theodoro
                           Address                                      100 Powell Place #1177
                                                                        Nashville                           TN                 37204
                                                                                       City                State               Zip Code

                           Comity                                       Davidson County
                           Telephone Nmnber                             201-336-4375
                           E-Mail Address                               Izadorol5O-amail.com

          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a govermnent agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. 1
                           Name                                         Department of Children and Families (DCF) - Middletown, CT
                           Job or Title     (if laeown)
                           Address                                      2081 S Main St
                                                                        Middletown                          CT                 06457
                                                                                       City                State               Zip Code

                           County
                           Telephone Number                             (860) 638-2100
                           E-Mail Address (if laiown)

                                                                                Individual capacity   ❑✓ Official capacity


                     Defendant No. 2
                           Name
                           Job or Title     (if1wown)
                           Address

                                                                                       City                State               Zip Code

                           County
                           Telephone Number
                           E-Mail Address (rf laiown)

                                                                        [71 Individual capacity       F&/J Official capacity


                                                                                                                                          Page 2 of 6




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Pro Se 15 (Rev. 12116) Complaint for Violation of Civil Rights (Non—Prisoner)


                     Defendant No. 3
                           Name
                           Job or Title (ifknown)
                           Address

                                                                                       City                State             Zip Code

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                           E-Mail Address (f known)

                                                                        ❑       hidividual capacity   ❑✓ Official capacity


                     Defendant No. 4
                           Name
                           Job or Title (iflmown)
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                                                                                       City                State             Zip Code

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                           Telephone Number
                           E-Mail Address (iflahown)

                                                                        d Individual capacity         ❑✓ Official capacity

II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.         Are you bringing suit against (check all that apply):

                     ❑     Federal officials (a Bivens claim)

                     0      State or local officials (a § 1983 claim)

          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or inuntulities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
                     see additional attached pages




          C.         Plaintiffs suing colder Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing colder Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?

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                                                   X    f1 'p         C                                                  S  S        C              O 7
           rt 3 (D ut N rt                                                      -h d Q n                C          C     fD (D                         d       fD
           n    - C2 W r Cpf                       fD   o             Claq O-        <   n
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                              r+ Q                                                  L2  N       C d r1                        N      N
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c          <          rD                         Q -Ci Q (D L N          d                                                      Z
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               0 p                                    3 ~ d O
                                                 o ~' 0          rt                              o           N                  M
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n                                                                 (DD                                                      p    3-   r3+    Q
 O         x     O    r                          A           3          S
                                                                        vi   v    O    0   O    C    (D O                                   O
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           5=3                                   W ~ m W    C n                   j    5   c         rDD
                                                    O       n                              R                 Q                       p  A 1+
           Q 0                                   (D      Mp                          r+ 3 r+ Q A c                                   1   C to
             O 3                                    3    fl rD O
                                                               O                  -0 C r+ rD o- d
                                                                                                                            AF O
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             r+' M                                    5 o L 3                      3 'n -1 + rD                                3
           0r+                                                          p         O
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                                                       + 0 = 3       O 0 3                            + (D                 3            < A
           Q                                           W   O 0) _,,, tA rt                       M                                   Lh O c
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           s(n ~                                       v o o m m                       m        c                               Q         (D
                                                                             r+                                                      g o N
           rD o       o-                               O     o-         =3   o           w• v o I. 3
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           rt         °°                               3                rD o                    3            2       3          0
           Q                                                      Ln                                         0                       o    Q Q




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                  0    d                                                                                                     v
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rt                          Ow   n                         ~ 2         =        rr u, r, ~    D~                             Ln
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(D                          N             - LA (D              w    (D                      <     3     O' X
ED                          G                                                                                                2
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w                              0             r                                      Q

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3
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N                           <         3     w    O S O          fD      r0+ cT      3    S3 w o-
                            O               3    3 0 3                      :r + C o_ 6 ter+ o
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Oh                                                   O                C                  (D
                                                                ((D              rt          rt O0
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(D                                    Q r* — C             O Dp            <        Q~   C m rD K
                                 N 3" sLn             (ADN 3     N              rt r3i ~• S       Cwy (D m
                                 v          fD   fD                   (D        °   r+
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                                     (D 0m (D r+
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                                   m      '" O
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                                                                                          N m G -Ci



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                                                                                           _
            -                2              G~                m              n                  D,              w               D
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           (D !                             0)                2              (D                 d
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           0                                                                 O
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           (rD+              m              3                (D                                 <               Lp              3
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Pro Se 15 (Rev. 12116) Complaint for violation of Civil Rights (Non—Prisoner)




          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted wider color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted wider color of
                     federal law. Attach additional pages if needed.

                     Defendants are all employees of a state agency known as the Department of Children and families. All
                     violations mentioned above were committed while actively performing their jobs for the state agency.



III.     Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.          Where did the events giving rise to your claiim(s) occur?

                     The events started at Middlesex Hospital in Middletown, CT and continued to occur at the Department of
                     Children and Families's office located at 2081 S Main St in Middletown, CT.



         B.          What date and approximate time did the events giving rise to your claim(s) occur?

                    The events occurred over a period of times ranging from November 9th, 2018 and continue to present
                    day.



         C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)

                     See additional attached page for a brief summary




                                                                                                                        Page 4 of 6




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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)



IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.

         Great ernotional and physical suffering. See additionally attached pages for details.




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.
          See attached pages




                                                                                                                    Page 5 of 6




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Pro Se 15 (Rev. 12/16) Complain for Violation of Civil Rights (Non Prisoner)



VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office Nvith any changes to my address where case—related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff

         B.          For Attorneys

                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Address


                                                                               City        Slate           Zip Code

                    Telephone Number
                    E-mail Address




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                                      Isabella Theodoro and Peter Theodoro
                                                        V.
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                       UNITED STATES DISTRICT COURT
                                                  for the
                                        Middle District of Tennessee
                                      Isabella Theodoro and Peter Theodoro

                                 Middlesex Hospital (Middletown,
                                                       V.        CT) and others.



Abstract:
Two years ago, on November 9`E', 2018, my husband and I were driving through Connecticut after visiting
family for a memorial service while I was 38 weeks pregnant. We stopped at a local hospital for some
back pain I was having to make sure everything was ok with the baby. We were brutally attacked by the
hospital staff there at Middlesex hospital in Middletown who told us we were "liars" and that they did not
believe we were actually from Tennessee. Everything we said they called us "liars!" I have never been so
terrified in my whole life! They put the entire maternity ward on lockdown saying they believed we were
"homeless drug addicts, Muslim Terrorists and criminals running from the law." The drugged me against
my will, forced me to have a c-section without my consent and then told us they had called the CT DCF
to "come get our baby!" The hospital staff at Middlesex hospital even tried to get us to voluntarily give
our daughter up by telling us that she "looked Chinese" and that "we probably wouldn't want her
anyway!" We told them to stop harassing us and they just laughed!
They tortured and terrorized us inside the hospital for the next 4 days, kept us from seeing our child and
keep me from getting to breastfeed her calling me a "disgusting drug addict" even though all of my and
the baby's drug screens were negative.
They forced me to have her on the Friday of a holiday weekend and even though I had signed medical
release papers for my prenatal care, they said they would not be able to get the records until the following
Tuesday. They had an "after hours" CT DCF worker come take her from us on the Monday before the
records ever got there because they told us we looked "too suspicious" and that they were required take
her to the Pediatrician in CT 3 days after she was released from the hospital and that they "KNEW we
would not take her!" ( The DCF workers name was Brenda Partyka, a woman who was friends and
neighbors with both Sarah Lennon( the nurse who called saying we looked "suspicious" and Maribelle
Sparks ( the court clerk foster woman they gave her to because she was looking for a "Hispanic looking
newborn baby girl" to adopt!)
We told them we would take her to any pediatrician they wanted us to and that we would pay for it out of
pocket. They said they didn't care. They intentionally kept us from getting to see her as we were being
held inside our hospital room with security guards and were only allowed to go see her in the nursery
during her "scheduled feeding times." Then they claimed, "we did not care about her and that we were
clearly unfit parents!" Any and every little innocent thing we said or did they would twist it around and us
it against us. I was erasing some text messages off my phone that were taking up a lot of data to make
room for pictures of our new baby because the memory on my phone was full and we didn't have our
camera. Sarah Lennon wrote that we were "deleting suspicious text messages so as not to implicate us in
our crimes!" They asked me what medications I take, I told them I take hypertension and diabetes
medicines, she asked me where the bottles were, I told her in the car. Then they wrote that I was clearly a
drug addict/ drug dealer and that I had a "bag of pills with me!" They asked us where we were from, we

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                                       Isabella Theodoro and Peter- Theodoro
                                                        V.
                                  Middlesex Hospital (Middletown, CT) and others.


said TN and they called us "Liars!" Later they said they found our new minivan in the parking lot because
it was registered to my name and had TN plates. They said they found it to be "messy" and believed we
were living out our car! They say they took her from the hospital, they mocked us and laughed at us as we
cried and begged them not to take our child. It is a crime to hold a pregnant woman against her will and
forcibly indue her just to kidnap her infant and sell the child to your friends as if it were an animal to
possess! It's called child trafficking and the staff at Middlesex hospital and the CT DCF workers involved
in our case need to be prosecuted criminally for kidnapping our daughter at birth when we had done
nothing wrong just to give her to their friends to adopt!
They just kept attacking us one thing after another after another after another! After they took our baby
girl from us, they told us all we had to do was bring our medical records to the judge to show her that I
was not a drug addict and that I had in face received prenatal care and that they would give our child back
to us! It was never true.
As it turned out there was a court clerk who had been asking her friends at the DCF to help her find a
"Hispanic looking newborn baby girl to adopt!" Also, as it turned out she just happen to be the Judges
NIECE! By the time we had our OTC court date, this horrible abusive woman had already been given our
child and promised that "if she was just patient, that she would eventually get to adopt our daughter!" The
first time we met her she was so hateful to us and she told us that the Case Worker David Friend told her
that I was a "drug addict" and that my husband was an "illegal immigrant" and that he told her we would
"never get our daughter back!"
The judge never treated us fairly and never listened to anything we had to say or ever allowed us to
submit any of our evidence showing that we were loving parents who had gotten prenatal care, how the
racist hospital staff had taken advantage of us and terrorized us or that we had in fact cooperated. She
never cared about anything we had to say. The CT DCF had already called us liars and so she just "took
their word for it" without even giving us any opportunity to tell our side of the story. The judge refused to
hear any of our evidence or treat us fairly as air unbiased party. They said the only way they would
transfer our case and our child to TN was if we "pled guilty to child neglect." Since we had done nothing
wrong and because that is considered a crime in TN, we were not about to sign any such "deal" knowing
that our other children would be taken from us and it would likely land us in prison! Because we refused
to sign their "plea deal," they refused to allow us to have a trial and found us "guilty of child neglect" by
default!

The days turned into weeks, then into months and then into years. It was so hard having to go on without
her. When the boys were born, I would just sit around all day nursing and holding them and breathing
them in. After they took Sofie from us and threw us out into the snow, she was just gone, and I just
couldn't understand why. I felt so dazed and confused about what had happened and why were they doing
this to us. At first, I could still feel her kicking inside of me, even though I knew she was gone. As the
weeks passed Peter and I went through some pretty dark days. There were days that I just wasn't sure I
would be able to make it. In the end it was our little boys who kept us going. We knew we had to be
strong for them. We had to come to the harsh realization that whether or not we ever got our daughter
back, our little boys were innocent and still needed us to be there for them too! They still need us to be
their mom and dad and they still need us to give them all the wonderful things that life can offer. And so,
we kept trudging and waiting and trudging and waiting for the day that our poor sweet daughter would be
allowed to come home to her real family. We have been waiting ever since.



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Two long years now have passed. My little boys have never gotten to meet their sister they so longed for
because we are still not allowed to see her in person and even if we were, we can't take our children into
CT or NJ because they will be taken from us due to this open "predictive neglect" case against us.
Predictive neglect is a ridiculous, unlawful concept and is nothing more than a method for child
traffickers to violate people's civil rights and kidnap innocent people's children for profit! More should
be done to keep greedy, prejudice hospital staff from claiming this about innocent families and being
given the power to take other people's babies from them at birth!!! Predictive neglect should NOT be
legal!


Statement of Claim
After traveling to my husband's parents' house for a memorial service in November of 2018 while I was
38 weeks pregnant, his family suggested we should go on a short baby moon to relax and that they would
watch the kids for us. My husband told me about how he and his friends used to go to Maine on vacation
and eat lobster and how unbelievably beautiful it was. I have a friend from grad school who had just
moved back home to Tennessee from Maine and was always telling everyone how wonderful it was and
posting these incredibly beautiful pictures on Facebook. It almost looked like Alaska; it was so beautiful.
We decided to take a weekend trip up there to relax, unwind and pray to help me mentally prepare for our
daughter's upcoming birth. I had planned on having a completely natural birth and I had hoped the trip
would bring me the serenity and peace I needed to ease my mind and give me strength. We left early on
Friday Morning, on November 9`h, 2019, which was a holiday weekend. We planned to stay Saturday and
come back on Sunday. Our destination was about 6 hours away and about 3 hours into our trip I started
having some back pain. I figured it was just from sitting for a while in the same position and didn't think I
was in labor, but since I have never been in labor before, I just wanted to be sure. We were in Connecticut
at the time and we stopped at a nearby hospital (Middlesex hospital in Middletown, CT) to make sure
everything was ok. It was the biggest mistake of our lives!
 From the moment we walked into this hospital in CT and told them we were from TN, a nurse named
Sarah Lennon started attacking and threatening us saying they could have us prosecuted for child
endangerment for driving long distances while pregnant. We told them we had only driven for 2 %2 hours!
They started interrogating us about every aspect of our life. We told them we had been staying in New
Jersey with some family after attending a memorial service. They called us liars and accused us of "living
out of our car." We told them it wasn't true. They kept harassing us about my husband's "ethnicity." Then
they asked me what medicines I take. I told them I take medicines for asthma, diabetes and hypertension.
They asked me where the pill bottles were, I told them they were in my purse in the car. Sarah Lennon
started calling me a drug addict. (she made up all these lies in her report saying all of these ridiculous
things like I had a "big bag of pills with me," and that we were suspiciously deleting text messages that
we thought might implicate us in our "crimes.") She demanded to know my other two children's names,
birthdays and location. We told her. They started interrogating my husband if he was even the "real
father" of my other two children. They kept demanding to know his "ethnicity." We reluctantly told them
he is Egyptian. One nurse named Cannella started going on and on about how "the world trade center was
taken down by Egyptians!" They started accusing my husband of being Muslim. We told them that he is
Coptic Orthodox. Another nurse asked what that meant, and we told them it means he is Christian and
showed them the tattooed cross on his arm. They said they didn't believe us. They said they "knew" he
was not actually my husband and that the only way a white woman like me would be with some "Muslim


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 guy" is if we were some kind of criminals. They said that he "must be running from the law" and that I
 "must be trying to hide him." Then they started accusing me of being a drug addict. I told them it wasn't
 true. Two nurses pulled off my pants and underwear right in front of a whole room of nursing staff whom
 I have never met, including male staff. Before they had even given me anything to cover up with, they
 ordered me to further remove the rest of my clothes. I asked them to ask the male nurses to please leave
 while I was undressing, they refiised. As I was taking off my bra, one of the male nurses turned his head
 and smirked. After I was forced to take off my clothes and was sitting there for at least a few minutes
 completely naked, a nurse tossed a fabric gown at me, giggled and said, "here honey, cover those things
 up." It was completely dehumanizing and humiliating. I was then forced to urinate in a cup in front of 2
 hospital staff who called me a drug addict. (my tox screen was negative) After that I went to get my
 clothes to put them back on to leave. Another nurse asked me what I was doing. I told her that I didn't
 like the way I was being treated and that I was leaving. She apologized for what the other staff had done
 and said that they just get a lot of "junkies" in there and that I should at least stay long enough to get an
 IV and let them check my cervix checked to make sure the baby was ok. I agreed to stay only to get my
cervix checked and get an IV in case anything was wrong. After they put the W in, they brought in an
ultrasound machine and said they wanted to do an ultrasound, so I agreed to that. Then the doctor came in
and checked my cervix and said that I was barely 1 cm dilated, if that. She asked me if I had any medical
records (but never once asked for a release for anything). I told her I thought I had my ultrasound report
in my email and started looking through my phone. She finally said its fine we'll just get it after the c-
section. I told her no, I wanted to be allowed to leave to go back to New Jersey to have the baby where we
were staying with family. She told me that they had me scheduled for a repeat c-section and didn't I want
to do that. I told her no that I did not want to have another c-section and that I wanted to birth my
daughter naturally this time and that I wanted to leave. She said ok and left the room. Then Sarah Leimon
came in and injected a clear fluid into my IV and said they were prepping me for my c-section. I told her
no, I did not want to have another c-section, I wanted to be allowed to leave to have a natural birth near
our family at a birthing center we had found in New Jersey. She continued to argue with me, and I told
her if they didn't let me leave, we were going to call the police and report them for holding us as hostages
in the hospital against our will. She said "go ahead, the law is on our side in Connecticut and if you don't
stop resisting we are going to call the police and have you arrested for child endangerment and they will
come in and chain you to the bed and force you to have the surgery anyway." I never ever gave them
permission to do the c-section or signed anything giving them permission to do so. In the medical records,
the doctor (Dr. Mcleod) wrote that I was in "active labor" but it's not true and I never felt a single
contraction. They told my husband if he did not cooperate, he would not be allowed to stay and if he tried
to resist being kicked out of the hospital, they would call the police and have him arrested. I started crying
and feeling very drugged and woozy and I can't remember much after that until I was sitting upright in
the bed holding my baby girl in my arms and a DCF worker was sitting across from me asking me
questions. A nurse named Laura Pittari kept telling her that I was a drug addict and that I "self-medicate".
I remember telling them that it wasn't true and that I found it very offensive that they kept accusing my
husband of being a Muslim and me of being a drug addict because their accusations were completely
false. I don't remember much about the interview except that she said if we don't give them the location
and access to our other two children, that they were going to take our newborn baby from us. We told her
that we read that if the DCF goes into your home and sees anything they deem as messy or anything they
say they don't like, that they will take your children. She told us yes, that was a possibility and that they
"do this with immigrants all the time." After she left, Laura Pittari told us that it was the law in the state
of CT that the baby has to go to see a pediatrician on her third day of life. I told her we don't live in CT,
but we would be perfectly willing to stay somewhere close by and take her to the doctor if that's what we

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had to do. She again started calling me a drug addict and told us "either we bring them our other children,
or we will not be taking this baby anywhere!" I again told her that I do not self-medicate or take illicit
drugs. She said, "oh yea, tell it to the judge sweetie" and left the room. I was balling my eyes out when
another doctor (Dr. Bony) came in and started accusing us of not really being from Tennessee. She said
they knew we weren't really from Tennessee and that I didn't have much of an accent. She said I didn't
sound like I was from Tcimessee and that they "knew" my other children were somewhere in
Connecticut. She said they "knew" Peter was not the father of my other two children and that we had
better cooperate and bang them our other two children or we might never see our baby again. We told her
about all the terrible things we read about them stealing people's children in CT for no just cause and
started telling her what we read about Kirsten Fauquet and her husband. She told us that anyone who
believes that is stupid and we looked like the kind of people who were even "stupid enough to believe that
vaccines cause autism." We told her that we didn't do any of the things they were accusing us of and that
we just wanted to be allowed to take our baby and go home. She said that if we didn't bring them our
other children, we would probably never see our baby again and left the room.
That first day I cried all day as I held my newborn daughter in my arms. I kept falling in and out of sleep
but I made sure to hold her close to me to keep her wane because my second child kept having
hypothennia which eventually caused his hypoglycemia and he had to be sent to the NICU to have an IV
and I didn't want her to have to go through that invasive procedure. I also made sure to hold her in a
specific way so as not smother her if I fell asleep and I continued to feed her and try to nurse her even
though I knew my milk had not come it yet. As the hours went by, I could feel my blood pressure getting
higher and higher. I asked my husband to go get my blood pressure medicine out of the car. The nurse
came in and said he was not "allowed" to give me any outside medicine. I told them I needed to take my
blood pressure medicine. The nurse named Carmella told me that the doctor had "discontinued" all of my
medications. I told them they could not discontinue a medicine they did not prescribe. She told me I could
"take it up with the doctor in the morning." I told her "no you don't understand, I have to have the
medicine to control my heart rate and my blood pressure." She told me she didn't care and that I could
take it up with the doctor in the morning.
I begged and pleaded for them to let me have my blood pressure and diabetes medicine, they all told me
they didn't care. I told them I was going to leave to go get my medicine, if they would not give it to me
and that they couldn't just hold me hostage and not allow me to have the medicine I need to live. They
told both my husband and I that we were not "allowed" to leave the room, or we would be "arrested."
When we asked, "arrested for what exactly??," they had no answers. I told them I wanted to speak with
the medical director of the facility to complain. An hour or two later, some supervisor nurse named
Antonio came in and asked me what I wanted. I felt so dizzy and drugged from all the other drugs they
were giving me; I could just barely talk to him. I told him I needed to take my blood pressure and diabetes
medicine or that I was going to get very sick. He told me they said I had "refused" to sign any medical
releases to see what medicines I take. I told him that was not true, and that no one ever asked me to sigh
any release. He told me that because it was late at night on a Friday, that they would not be able to get in
touch with anyone to see what medicines I "actually" take until Monday morning. I told him I had to take
my medicine before that and that they couldn't force me to go three days without taking at least the beta-
blocker I have to have to live! He said he couldn't help me with that, and that he could only make a
record of my complaint. Then he left. My blood pressure continued to get higher and higher. I told the
nurses that I was having severe headaches, nausea, my heart was racing and that I was having trouble
breathing. I started getting really sick and vomiting.


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My hematocrit was extremely low, and my blood pressure and sugar levels were very high. The nurse
named Carmella told me I was "faking it" and that I was just "doing it to get attention." She and another
nurse started laughing and mocking me. My husband asked them to explain how my blood pressure and
heart rate were extremely elevated. They said I was "just working myself up on purpose to "artificially
make them high." I remember as I was trying to hold my daughter Sofia, I was shaking so badly I had to
rest her on my chest so as not to disturb her. My husband kept offering to hold her, but I wanted to spend
every moment with her that I possibly could because they kept telling me that they were not going to
allow us to take her home. As I was holding my daughter and crying from all the emotional and physical
stress I was going through, my evening nurse named Cindy kept coming in and asking me about Peter,
my husband. He was asleep at this point and she kept asking me what he was running and hiding from
and who was he really? I told her that he really was my husband and that we were not "running from
anything or anyone." She continued to harass me saying that if she had a daughter who came home with
some "Saudi Arabian Muslim guy" who was "running from the law," that she would disown that daughter
and never let her in the house again." She told me that as far as she was concerned, an "A-RAB" was no
better than a "Mexican behind a wall" and that in her opinion and the "opinion of the other hospital staff,"
that I needed to just "turn him in" for whatever he is "running from the law for." Then she asked if he
was really the father of my other children and if we really did have custody of them. I told her yes and
then asked her to please leave my room. She eventually left but continued to come back in and kept taking
my infant from me while I was trying to nurse her, making up different excuses each time, but mainly
kept telling me that she was "too tired to nurse." I asked her to please stop harassing me and leave me to
bond with my child, but she refused.
She lied about the sugar readings on my daughter citing that they were much lower than they actually
were, my husband and I both saw what the readings actually were. This nurse was intentionally lying to
make our daughters sugar levels appear lower than they really were so that the practitioner could justify
taking our child from our room without our consent! The nurse practitioner for the evening came in and
said he was taking the baby to the nursery to get an W glucose drip due to her low readings. I asked him
if we could be allowed to feed her formula every hour instead of every three hours to see if it would bring
up her glucose and he agreed we could try that and said that if her sugar hadn't come up in the next three
hours, that he would need to insert the IV. The next three readings were all in the 50's, but when the nurse
took the last one, my husband and I both saw the reading said 51, but she reported it as 49 and said she
needed to take the baby to get the IV now. We started arguing with her that that wasn't the reading and
that it had said 51. We asked her to take the reading again and she refused. She said she was taking the
baby and if we wanted, we could complain to the supervisor. So, I again had to ask to complain. My
blood pressure and heart rate by now were very high and I was feeling very short of breath and
lightheaded. As I was crying and trying to complain to this same jerk of a supervisor who already told me
earlier that he didn't care, Cindy came in the room shouting that if I am going to complain about her, that
she has the right to know why!! I asked her to please leave several times and she just kept shouting at me.
Finally, she said something like "well you better watch it honey, because I am the one who will be
watching your baby in the nursery tonight!" (We have a recording of this) After she said that, I begged
and begged them not to let her stay in the nursery with Sofia but they said she would not be the only one
in there with our baby and that she was the only one "qualified" to watch a baby in the "special nursery"
that night. The nurse practitioner gave us "permission" to leave the room only to accompany Sofia to the
nursery but because my blood pressure was very high and I was in a lot of pain, I was not able to go so
my husband went with our daughter to the nursery to be with her while her IV was being placed. After he
got back, I was crying about how we had been treated and that my heart rate by then was nearly 200 and

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 my blood pressure was 180/120. (they lied about how high it was in the medical records) After I
 continued to complain about it and as it continued to climb, they finally gave me my beta blocker but still
 refused to give me my diabetes medicine. After that Peter and I were exhausted, and both slept for around
 8 hours straight. The next morning when we awoke, my blood sugar was also very high, and they finally
 gave me the Metformin I was prescribed by my general practitioner. Then a neonatologist named Dr.
 Gork came in our room and started telling us that he "knew" we did not care about our baby because if we
 did, we would have been in the nursery for every feeding and that if he wanted to, he could have us
 prosecuted for neglecting her just because we didn't show up for 2 of her feedings!! We explained to him
 everything that had happened and that I was made to go the entire previous day without any of my
 medications, that I had been in excruciating pain and that we were both exhausted and just needed some
sleep. He said he didn't care and that we "should have been there." We asked him isn't the nursery there
to give the parents some rest? He said no, that this was a "baby friendly hospital" and that we, as the
 parents were supposed to do all the feedings. We told him that we didn't send our daughter there
 willingly, that they had taken her from us saying that she needed an IV. He changed the subject and
started saying that he "knew" we did not even have custody of our other children and that we would not
 be allowed to keep Sofia anyway so there was no need for us to see her anymore. I started crying as Peter
was telling him it wasn't true, that we do have custody of our other children. He refiised to tell us who
told him that we didn't have custody of our other children but he did say that he had spoken to my OB-
GYN in Nashville (and that he was well within his right to do so because it concerned our daughters
"safety" even though it was without my consent therefore violating my HIPPA rights!) who agreed with
him that we are "bad people and should not get to keep our child!" I told him I left that doctors practice
because I felt like he was sexually harassing me and that anything negative he said about us was in
retaliation. Dr. Gork said he "did not care" and that he was in complete control of our daughter and said
he didn't HAVE to allow us to see her. We begged and pleaded with him to please let us see our baby. He
told us that we would be allowed to see her only for feedings and that if we missed even one more single
feeding, that we would not be allowed to see her anymore. He told us that the DCF would be there to take
custody of her on Tuesday and that he was going to testify against us about how we "neglected" her by
sleeping during her scheduled feeding times and about how I "refused" to sign a medical release for my
prenatal records. I told him that wasn't true and that I never refused to sign anything. I asked him if I
signed the medical releases and we make her an appointment with a pediatrician in CT, would we be
allowed to keep our daughter and take her home? He laughed and said no, that if we thought we would be
going home with our daughter, we were dead wrong and that we would not be going home with her "for a
very long time, if EVER." We told him that the nurse practitioner had told us that she would be ready to
come off the IV and come back to our room by the end of that day and asked him if they would at least
send her to our room so we could bond with her and take pictures. He said "no, I think finding her
"permanency" is a little more important than your pictures!" I had no idea what he meant by
"permanency" at the time. He told us we were obviously some kind of "criminals" and that we obviously
didn't care about any of our children otherwise we would just "turn ourselves in!" We told him we were
not any kind of criminals; we have nothing to turn ourselves in for and that we loved all of our children
very much and that our whole world revolved around our children. I showed him pictures of our family
on my phone and told him how I had always wanted a baby girl and how hard we had tried to get
pregnant with her. We cried and begged and pleaded with him to let us keep our baby. He told us that the
DCF was definitely going to take her on Tuesday (since they were supposed to be closed on Monday due
to a holiday) but that we would be allowed to stay at the hospital with her and feed her and that the
hospital would "board" us there free of charge as long as we didn't miss any feedings and left the room.
The next feeding, we went to was the first time we had seen her in several hours which seemed like an

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 eternity, and I just held her and cried and cried. I must have sat there and cried for like 20 minutes
straight. My husband just put his arms around us, and we just held her and wept together. It was such a
spiritual moment and we prayed for her that God would keep our poor sweet daughter safe. Our rejoicing
was short-lived though, as many of the nursery nurses were so hateful to us, they made it very difficult for
us to enjoy what little time we were allowed to be with our daughter. I had to complain several times
about how the nursery nurses kept harassing us while were trying to spend time with our little Sofia. They
refused to give us any privacy and kept hovering around us telling us that we were not feeding her right or
holding her right or changing her the right way. One nurse named Golda kept trying to take the baby from
me, telling my husband and I that we just looked too tired to be there with her and that we should just go
back to our room to get some rest. Another time she told my husband that there is a law in CT that we
would not be prosecuted if we wanted to just "give her up" within so many first days of her life. We were
both so shocked at what she was saying, we just looked at each other with our mouths wide open. We told
her we loved our baby and would never dream of giving her up!! Then she kept talking to me about how
dark our daughter's hair was and that she "looked more like a Chinese baby" than anything else and
would I even want her if she looked nothing like me? I told her that I loved my daughter, that I didn't care
what she looked like and asked her to "please leave us alone!" We complained to our nurse about the
things she said, but no one seemed to care as usual. Then when we saw her again later, she started
shouting at me that I "had no right to complain about her!" It was a very tumultuous day constantly
having to fight with these combative nursery nurses. The hospital wrote so many lies in their medical
reports. They claimed that we obviously did not care about our newborn and that we even stated that we
"did not care to bond with her." They said that we did not even see her for the "first 30 hours of her life"
and that we had to be "forced" to go see our baby. Then they said that when we eventually did go see her
that I (as her mother) could not even figure out how to chance her diaper and had to be taught how to
change a diaper by the hospital staff. As if it's not obvious that it would have been impossible for me to
have already had two children and somehow gotten by without ever having changed either of my
children's diapers, there are about 100 people that I can call to vouch for me that I started babysitting with
my sister when I was 13 years old and babysat tons of children during my high school and college years.
Then Sarah Lennon wrote in the hospital records that we were obviously a "flight risk" and claimed that
my husband wrapped our daughter in his jacket and tried to somehow smuggle her out of the building.
None of those things ever happened. They are blatant lies written by extremely racist, prejudice, ignorant
people to justify holding us against our will. She even admitted in the report that they held us in the
hospital against our will before our baby was born and forced the C-section on me. She and the other
hospital staff believed we were criminal running from the law because we are a biracial couple and she
believed we were a flight risk. I have the right to birth my child however I wish and no matter what their
opinion was, we had the right to be allowed to leave that hospital and get a second opinion. We were
detained against our will and our newborn child was forcibly taken from us based on their own lies. They
violated our civil right and the rights of our child and alienated us from our only daughter for the entire
first two years of her life.
First of all, at the hospital nursery itself that our baby was being held in was a locked room and we had to
be buzzed in. She was the only baby in there and we never even had one second of privacy, not even
while I was trying to nurse. Secondly, if we didn't care about her as they said, why would we be trying to
"smuggle" her out of the building? Thirdly, the maternity ward itself was a locked ward, and we were not
even allowed to walk in the hallway outside our room. Once I was trying to do some walking in the
hallways because my blood pressure had been very high, leading my legs to swell badly, and they were
hurting me a lot. We thought it was like any other hospital where they tell you to walk up and down the

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 hallways to get your blood pumping to avoid having a blood clot after having surgery. That was not the
 case here. They called the security guards and had them escort me back to my room telling me "I had
 better stay put if I knew what was good for me!" They told me I was only allowed to leave the room to go
to Sofia's "scheduled feedings" and that the rest of the time I was "not allowed to leave the room!" I told
them they could not hold me as a prisoner inside my hospital room and that I had not done anything
wrong! The nurses told me that if I tried to leave my room again unsupervised, during a time which was
not a scheduled visit with my daughter, that they were going to "kick me out of the hospital" and have me
discharged with no pain medicine and that they were going to have our daughter adopted by a loving
family that was "obviously more deserving of her than we were!" We were absolutely terrified from the
way they treated us! I have never been so terrified in my whole life. Peter and I both still have nightmares
and flashbacks until this day. I felt like we were living in some kind of horrible nightmare and kept
praying that I would wake up, but things only went from bad to worse. Even though we were exhausted,
and I was in terrible pain, we didn't miss another single scheduled feeding for our daughter that last full
day we had at the hospital with her. That evening (Sunday evening) they told us they were going to bathe
Sofia and that we could be "allowed to watch." We fought very hard with them and finally they agreed to
let me bathe my daughter myself and we took a video of her first bath. Then one of the times we came
back from feeding our baby, our room had been completely ransacked. All of our belongings had
obviously been searched through and some of our important personal documents were missing
(containing copies of our drivers' licenses, social security numbers, and other personal information). We
complained to the same uncaring, rude supervisor again. (We have a recording of the complaint) He
didn't care and tried to pretend as if the nurse had just been in the middle of "cleaning" our room. It was
so scary the way they were treating us, and no one seemed to care. Peters family members had come to
the hospital from new Jersey twice to visit us and see the baby. They would not allow him in and said that
we were not there.
 On The morning that they took our daughter (it was Monday morning, not Tuesday), a nurse came in
8:00 am and told us we needed to get up and go to the nursery because our daughter needed to be fed. We
asked them why would she need to be fed since she was on a 3,6,9,12 feeding schedule, and we had just
recently returned to our room and gotten back to sleep from her 6 am feed? The nurse snapped at me
"because she's hungry and you NEED to go feed her now!" So, we got up and got dressed and went to the
nursery. She had been doing really with will her breastfeeding the day before so like always I let her feed
from my breast before attempting the bottle. I noticed the nurse named Laura Pittari glaring at us from
across the room. I was trying to ignore her, and I asked Peter to move the small privacy curtain closer to
me to block my view of her staring at me. As he was moving the curtain, I heard her say to another nurse
next to her that I was such a "disgusting drug addict" and that I should not even "be allowed to breastfeed
the baby." That memory is burned so deep into my brain and perhaps one of the most hurtful because it
was the last time I was ever allowed to breastfeed my daughter. Sometime later a pediatrician named Dr.
O'Callahan came in and talked with us as I was breastfeeding Sofia. We spoke with him for about an hour
about our life and our time in medical school in the Caribbean and our other two children. He told us that
he would be the one taking care of Sofia while she was there in CT in DCF custody. He was one of the
only hospital staff who seemed genuinely nice to us and he gave us hope that we would see our daughter
again but he did not, however, mention anything in our defense in the reports about the fact that they had
no right to kidnap our child claiming "predictive neglect" when it was clear that we had done nothing
wrong. The statute is "imminent threat of harm" and neither I nor the baby tested positive for drugs and I
was cleared by 3 different Psychiatrists as being "clinically sane and no threat to myself or others," yet



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they still held us against our will long enough to take our child from us to give to their court clerk friend
to adopt.
  Shortly after he left, a social worker carne in and told us that the DCF were there to take the baby. I asked
 her why and told her that we were told the DCF would be back on Tuesday. She said no and that they
 decided to come today even though it was "after hours." I asked her if we could just have a few minutes
to take a shower because we had been up all night. She told us "no, that the DCF worker was very busy
 and because she was there as an "after hours" situation because the worker was "supposed to be off that
 day" because it was a holiday, she wanted to go ahead and get this "over with." We both gave Sofia a
gentle kiss and laid her down in her little crib. It was the last time we would see her for nearly a month.
As I was weeping on my way back to our room, I could barely see though my tears to make it down the
hallway. Once we were back at our room, I went ahead and got in the shower. I didn't care what they
wanted anymore. I was tired of being bullied and accused of all kinds of terrible things just so they could
justify stealing our baby from us. What they were doing to us didn't seem legal. It didn't seem real, yet
they were overpowering us just the same and we were seemingly helpless to stop them. After I got out of
the shower, a woman named Brenda (who refused to show us her ID and said she didn't have a card)
came into the room and told us that she was taking our daughter on a 96 hour hold because we were being
"uncooperative." Again, we told her that we would get a pediatrician's appointment in CT and pay out of
pocket for it if necessary. We begged and leaded with her not to take our baby. She said she was taking
the baby and now we could leave. I told her I wasn't leaving and that we were told that we would be
allowed to stay at the hospital to feed our baby until they were able to review my medical records so we
could have our baby back. I also told her I wasn't even scheduled to be discharged until Tuesday anyway.
She said no, and that we were not allowed to see or feed our daughter anymore and that we needed to
"leave." I again told her I wasn't going to leave my baby and that she did not have the power to kick me
out of the hospital. She left and shortly before she came back, we overheard her threatening the doctor in
the hallway and then told her that she had better "get us to leave." Even though I had lost so much blood,
I was severely anemic and my hematocrit was only 23 % (at 22% you have to have a blood transfusion or
your life could seriously be in jeopardy), the doctor came in and told me that I needed to leave and since
they were not allowing me to see my daughter anyway, there was really no reason for me to stay. I told
her that I wasn't scheduled to be discharged until the next day and she couldn't force me to leave. I told
her I wanted to stay to at least pump breastmilk for my baby so she could receive the antibodies she
needed to stay healthy. She finally agreed and told me I was not allowed to leave my room for any reason.
I agreed. Then the worker named Brenda started shouting that if she was going to let me stay, then they
have to make my husband leave because technically he was "just a visitor." I interrupted her and told her
that since she did not work at the hospital, she was not allowed to tell me what visitors I was allowed to
have. The doctor looked terrified of her but didn't say anything else and left. Brenda came over to us and
told us they would be taking our daughter from the hospital and putting her immediately into foster care
since we would not leave and told us they would be feeding her Similac. We asked her to please give
Sofia Similac Sensitive since our first two children had severe gas issues. Just before she left, she came
over very close to my husband and I and whispered that she could literally take our daughter anywhere
and do anything she wanted with her because she has "that much power." After she left Peter and I just
held each other and cried. Later we found out that she also made all kinds of claims that I had a paper bag
of pills with me, that we refiised to cooperate, none of it was true. After we left the hospital, we went out
and bought a $200 breast pump and stayed in CT for another week at various hotels (costing us nearly
$1000) keeping up my milk and looking for an attorney we could afford and waiting for the 96 hours to
end, believing that no judge would possibly agree with what they were doing to us and our baby. It was

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simply not the case in CT and the judge readily agreed to anything they asked for, just taking their word
for it that we were drug addicts and Muslim terrorists even though my tox screens were all negative and
my husband and I are both Christian! Since then we have given these DCF people everything they asked
for and they are still refusing to give us our daughter back or even place her with our family. They have
made all kinds of derogatory claims about us, none of which are true and told us that we had to "prove
them wrong" in order to get our baby back. They said we had to go to parenting classes. We asked them
many times to enroll us in whatever class they wanted and that we would gladly attend, but they never
have. We eventually enrolled ourselves in classes at our own expense, and the Judge literally refused to
hear any of our evidence. Then they told us we had to prove that we were not gypsies living out of our
car, we sent them a copy of the lease at the house we were renting. Then they called up, lobbied and
harassed our landlord and got them to kick us out. They asked us to "vacate" by the end of that month and
then we had to spend tons of time and thousands of dollars moving our family and all of our furniture
from the 2000 square foot house into another home. As it turned out, the foster mother they gave our
daughter to was a court clerk in the very same court system in Middletown, Connecticut and we have
proof that she is in fact the judge's niece!

 These DCF have consistently ignored our daughter's health and refused to let me nurse her or give her my
 breastmilk that I had pumped. We then begged them to give her Similac sensitive and they refused,
 leading her to have to suffer with severe gas for the first 2 months of her life. She would make these
horrible gulping noises when trying to feed and would scream out in pain. We asked the foster mom to
 use vented baby bottles and we even bought a very nice $40 set of pink Avent bottles just like the ones we
 used for our first two children (she was using cheap unvented bottles she got free from the state). We
asked the pediatrician (at the one visit we were allowed to attend in her nearly 5 months of life) if we
could give her these to use and she and the case worker argued that she shouldn't have to use those bottles
for our daughter because she would have to buy more and that they were "too expensive." When the
doctor told her that our bottles really were better, she made up some story about how she also had some
Dr. Brown bottles at home that she also used even though the case worker had already told us those were
the only bottles she had which is why we bought the Avent ones in the first place. The case worker
(named David Friend) later admitted that he had never actually seen the Dr. Brown bottles in question.
The foster mother was really hateful to myself and my husband and kept rolling her eyes as I was holding
and kissing my daughter. When we asked the doctor to please switch our baby to sensitive formula, he
agreed but the foster mother said she would not be able to give our baby the new formula until the next
week because that's when the WIC office would be open so she could get some "new coupons for the
new formula." In the middle of the doctor's visit (which we have recorded), after the case worker realized
we had already met this pediatrician at the hospital and the doctor was treating us very amicably, he
pulled Dr. O'Callahan into the hallway and we overheard him threatening this doctor that he was not to
help us, agree with us or testify for us in any way. He further said that the DCF gets his practice a lot of
business and threatened that they could send their patients else wear and mentioned that they might be
willing to help fund the doctor's upcoming "trip to Africa." After they came back in, the doctor refused to
even look at me or my husband. While looking at the floor, he just told us it was nice to see us again.
After convincing the foster mom to keep the bottles we had bought for our baby at least as "travel
bottles," he left and so did we. As we were walking down the hall to leave, we rushed back down to the
room to give the foster mom the bottle brush we had purchased with the bottles and had forgotten to give
her. We stopped just before we got to the room because we heard her crying. She was telling the case
worker that because "the pediatrician likes that drug addict girl, now he is going to testify for them" and
that the "adoption was not going to go though." The case worker started comforting her telling her that

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"no one was going to testify for them" and said, "we will make sure of that." She went on to tell him that
since I was a "drug addict" and they my husband was an "illegal immigrant," it was clear that we "do not
deserve to raise Sofia" and also said "Sofia deserves better than them." She then started asking him if they
were going to be able to "expedite the adoption" and that's when my husband took my hand and pulled
me into the exam room. They both just went white and stared at us wide-eyed as if caught in the
headlights. As we walked in, I looked down at my sweet baby daughter sleeping so sound in her car seat,
completely unaware of the atrocities being committed around her. I remember in that moment, recalling
to myself all the times she used to kick me from within, and I would give her a gentle nudge on my belly
and tell her how much her Mommy loved her. I wished so badly that I could just take her and run. She
was my gift from God; the little girl I had always dreamed of having, now in the clutches of a hateful,
middle-aged entitled woman that looked up at me with such a hatred I don't believe I have ever seen
before. She just stared at me with her cold, callous eyes and I just wondered how she could be so cruel to
deliberately lie and abuse her power as a court clerk try to steal another woman's baby from her. Then,
after I was able to muster up enough courage, I handed her the bottle brush, thanked her for taking care of
our baby and we left. It was the hardest thing I have ever done in my life.
 It has been an uphill battle with the case worker and his supervisor. All they have ever done is lie about
us in their reports and lie directly to us about everything. They refuse to tell us about our case, so we
never know what is going on! Until our daughter was over a year old, they blatantly refused to tell us
what the allegations against us were and what exactly we were on trial for in the first place!!! They have
been extremely hateful to us and have lied to us on many occasions (that we have on recording). We were
complaining to the supervisor how the case worker had not been truthful to us about how to get my
husband's name put on our daughters birth certificate (because the hospital staff refused to let us do so
saying they wanted to see a copy of our marriage certificate), she told us that the DCF has "custody" of
our baby's birth certificate and that we were not allowed to alter it in any way. Later that same day when
we were talking with the case worker and his supervisor, he said no that wasn't true and as they were
walking out of the room, he asked her why she had said that, and she whispered to him that "it's easier to
strip one parent of rights than 2." She made several extremely racially derogatory comments to myself
and my husband and attacked the validity of our marriage and asked us why, would two people as
different as us even be married in the first place, as if it is any of her business. Then she said that if it is
the case that we "really are married" that I most likely had only married him just so he could be a "citizen
in the U.S." even though he has been a U.S. citizen since he was a small child. It was just ridiculous, how
she would literally just attack any and everything we would say. She also said she "knew that we were
lying" and that "we never intended to go to Maine." She said that she was "from Maine and knew
everything about it" and that's how she knew we were "big liars." We looked her up online and found her
social profile and credit reports, and it said she has "lived in Connecticut all her life" and she has never
LIVED IN Maine!!!! (we still have the documentation!)
Since our child was taken from us at birth, we were only allowed to see her for 2 hours at a time, in a l Oft
x 12ft room with a broken rocking chair, filthy furniture that smelled of some old musty perfume. Even
though we already had two other healthy children in Tennessee, we had to be "supervised" during the
visit. Before my husband had to go back to work, we stayed in New Jersey with family for as long as we
could to be as close to Sofia as possible. We made the 3-hour commute at first every day, and then later
on just Mondays and Wednesdays. On the Wednesday visits we were supervised by an extremely hateful,
racist woman named Barbara. She (and even David in the beginning even though he admitted it was
obvious that "we did love our baby") would sit there and badger and harass us during the entire 2 hours
we were allotted to spend with our only daughter. No matter how we held her or fed her, no matter how

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we bounced her or burped her, she would constantly harass about how every single thing we did was
wrong. It made it nearly impossible for us to enjoy our visits with the little girl we worked so hard to
have.
 The first December after she was taken, we were not allowed to see our daughter for the Christmas
 holidays and after emailing and calling several people, no one replied to us to let us know how she was
 doing. During the "Case plan" mectmg, the case workers supervisor kept insulting me saying that I didn't
 even care about my daughter because if I did then why didn't I contact her. When I told her I didn't want
to have to speak with her because she had been so hateful to me and had lied to me in the past, she started
 screaming and shouting that I was "attacking her." We begged her to tell us what exactly the accusations
against us were and asked what we were supposed to do to get our baby back. She flat out refused to tell
 us. Then she started trying to con us into taking our other two children into the state of CT, saying that it
 looked really bad on our part that we haven't brought our little boys to see their sister. We told her we
desperately wanted to bring our other children to see their sister but were told not to by many others
saying that if we were ever to take our other children into the state of CT, then they would legally be able
to steal them from us as well (not because we have ever neglected or abused them in any way) but merely
based on the fact that they had already taken our daughter. We asked them if that was true, and they all
just turned white and starred at each other. Again, I asked the same question and she hesitated and then
finally replied "well no, not necessarily." I told her I didn't believe her. Later she started calling me
hateful derogatory names saying that I was a "paranoid control freak" for not believing her even though I
have recordings of her openly lying to me in the past! They started saying they really need us to bring our
children into the state of CT because they really need to "check their health" because they "discredit" the
reports from our pediatrician and wellness checks from the detectives sent to our house in Tennessee.
Then she smirked and whispered to the mediator "those little hillbillies in TN wouldn't even know what
to look for in a wellness check." (The "mediator" woman was no mediator at all, she was clearly a very
bias party as she cut myself and my husband off on several occasions while we were trying to tell our side
of the story regarding various issues. Then she let David's supervisor cut her off several times just to
scream some more at us. A couple different times, it would look like her screaming fits were done and the
mediator would again begin to speak, and then the supervisor woman Marie would continue to scream at
us some more. It was insane, and the more she kept screaming and shouting, it was obvious that everyone
in the room was clearly afraid of this especially the Mediator, David and even our own attorney) I just
told her I would NEVER be taking my children into the state of CT. Then they said they intended to send
our (then 8-week-old) daughter to daycare. I told them they couldn't as I didn't think she was old enough
yet. For a brief moment in all of the shouting, I couldn't remember how long it had been since they took
our daughter from us because everything since had been such a blur. That's when Marie, the supervisor,
started mocking me, saying that I was unable to even do simple math! We just starred at her with our
mouths open, it was just truly shocking how completely cruel and ruthless she was. We begged and
begged and begged them not to send her to daycare citing that she had not been breastfeed and that she
could potentially catch some terrible illness. The supervisor woman (her full name is Marie Greco
Levesque) simply told us that our concerns were of no concern to her. We continued to beg them not to
send her to daycare and rather to place her with our family members. They told us that sending her for
placement out of state would take months and that the foster parents were insisting that they needed to
send our daughter to day care because that is what was "most convenient for them" so that's what they
intended to do. Later after the case plan meeting David, the case worker took my husband and myself into
a different room and asked us to sign some "referrals" for us to go to parenting classes. We agreed and as
he was handing us the two different sheets for us to sign, he was telling us that we are really "two very

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different people" and that most likely it is the case that "only one of us will be cleared as "safe" for the
baby to go home with." I told him that I didn't understand, what would that mean for the other person
since we are married, have two other children and live in the same house? He just said "well, I don't want
to confuse you, so we'll just talk about that later." (We looked it up on the internet and it said that all the
time, the DCF will tell parents the ONLY WAY to get their child back is to divorce their spouse, then at
least one of them can have their child back and thus be able to keep them out of foster care. Then later on,
they say that because you are divorced and you have a broken home, you're not a fit parent and use that in
and of itself to never give you your child back!) We then told him that we wanted to bring our relatives to
see our daughter. He just bluntly told us "no." He said that the "visitation was only for parents." We
begged him saying "please our family wants to see our daughter." Again, he just said "no." Later in the
"case plan report" every single thing they wrote regarding their observations of us interacting with our
child were extremely negative and were all completely false! They wrote all of these lies saying that we
"refused to bring our family to see our daughter, Ave didn't care about her, we were terrible parents and
that we couldn't even feed her or hold her or change her the right way." They didn't say anything at all
about how much we obviously loved her, cared for her, held her, cried for her, laughed with her, took
pictures with her and dressed her into all the smocked baby dresses (we have had for her since our first
child was born.)
After being in daycare for two weeks at such a young age, our poor little Sofia caught Respiratory
Syncytial Virus (RSV) and nearly died. She had to be taken to the hospital with a 104 fever and she
would scream in pain as her airway passages had to be periodically suctioned. Her chest was rattling so
loud, I have never heard such a rasping noise come from such a small infant. It sounded like a vacuum
cleaner just listening to her breathe. We didn't even know until the hospital called us one night asking for
consent to treat her, but even then, they refused to tell us what they needed to treat her for. Eventually one
male nurse admitted to us (and we have this on recording) that the foster family knew she was having
really bad breathing problems and other symptoms and waited a whole week before they brought her to
the hospital to be treated. He also said that the hospital did provide the family with Dr. Brown bottles free
of charge thereby proving that she did not have any vented bottles before that. During the several days
Sofia spent at the hospital, we were only allowed one 2-hour visit to see her. I think I cried the entire 2
hours. This time, we brought Peter's father and our Orthodox priest to baptize our child and told David
we were going to heavily complain if he did not allow them in. At the beginning of the visit, the case aide
named Barbara said she needed to take down their names. Peter's fathers name is Tharwat and she kept
laughing at the spelling of his name loudly, as I was holding my very sick baby, saying she "just couldn't
spell his name because it didn't make any sense. He was trying to be very patient with her and told her
how to spell it like 10 times. Then she asked the priest for his name. Even though he is called Abuna
Antony, his real first name is actually Magged which is the name he gave her. She started laughing loudly
again saying "did you say your name is Maggot?!" and continued laughing. It was extremely racist,
unprofessional, disrespectful and embarrassing, that she would act such a way to a holy person there to
baptize our sick child just because he was Egyptian and not white. Then after our daughter was
discharged from the hospital, we again begged them not to send her back to daycare since her immune
system was now depleted and she would be more prone to illness. They told us they didn't care what we
wanted and that the doctors there had approved her to go back to daycare the following week even though
they admitted she would have residual chest rattling, severe coughing and would be at a higher risk of
catching pneumonia. Several weeks later in our visits we could see that her condition was not improving
as readily as the doctors had said because she was still very sick and congested every time we would see
her so we asked the foster parents about taking her back to the doctor in the journal (which we had

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requested weeks before and they sometimes send it with her to our visits) It wasn't until after that that
they said they were going to give her steroid breathing treatments 4 times per day. They refused to even
take her back to the doctor until we complained because they cared so little about her health.
For months, every tune we got to see her, she was sick with respiratory illnesses, diarrhea, and terrible
diaper rashes. Since he knew that I personally have asthma, he told the pediatrician that all of her
congestion and breathing problems "run in the family" and that it has nothing to do with the fact that she
was still very sick and recovering from her terrible case of RSV and constantly catching more illnesses at
daycare. I asked him if he could please ask the daycare teachers to take notes about our daughter during
the day, about her activities and how she was doing everyday so that we could feel more informed about
her life. He said no, he can't do that because it is just a waste of his time and that they would probably
just write " a bunch of generic stuff about when she eats and gets her diaper changed." Then he wrote all
of these lies about how we did not care about our daughter, never asked about how she was doing or her
welfare, and that we never made any attempts to be a part of her life in any way.
Every time we saw our baby, she had multiple skin rashes and ambiguous bruises and scratches that we
would bring to his attention, and he pretty much ignored all of our concerns. For over a year, she suffered
from severe gas and would constantly let out gas and scream in pain. We begged the case worker to let
her have Mylicon baby tummy drops to coat her stomach. We told him they were just over the counter
and that they worked wonders for our other two children. He simply told us that we were not allowed to
just "play doctor and give her "whatever kind of drugs we want" and that "Mylicon drops might be too
expensive for the foster family." He kept telling us he would ask at her next doctor visit if the doctor
would allow it, but at each consecutive visit (which we weren't allowed to attend), he never did ask. This
shows that the CT DCF were not acting in the best interest of our daughter, but rather just did whatever
was "most convenient for the foster family." This foster mother they have her with was a court clerk and
was just abusing her power and lying about us to keep our daughter in her custody. She never spent any of
the stipend money she received for our child actually on our daughter. Instead, she used supplies that she
got for free from the state and made our precious little girl wear used baby clothes when we had a whole
room for her at our house of new toys and clothes that we spent thousands of dollars on before she was
born, just for her. All those months that I spent being completely miserable, violently ill vomiting every
day, being in terrible pain not being able to urinate because of my retroverted incarcerated uterus, being
completely miserable having to deal with all the pain and my blood pressure and sugar issues, and
suffering from such anemia, I barely had the energy for much of anything. The one thing I could find
comfort in was buying pretty new things for the sweet baby girl I had always dreamed of having. It just
makes me sick how little they ever actually cared about this little person who means the whole world to
her real family. She was nothing but a means of income to them. Several of the car seats they used for her
were expired (and we have pictures to prove it.) In addition to the free healthcare, free childcare, free
diapers, free wipes, free formula and free baby supplies they get from the state, the "foster family" also
got paid $2000/month to hold our daughter as their legal hostage. These people never cared about her in
any way, they were just exploiting her as an extra income and nothing more. If they had cared about our
child, they would not have kept insisting on sending her back to daycare just two days after they nearly
killed her with RSV. Then the case worker was insisting that we apply for our daughter a social security
member so that the foster family could write our daughter off on their taxes!
We did not do anything to deserve the way we have been treated. We have never neglected or abused any
of our children in any way. We love our children and take very good care of them. Neither of them has
ever even been sick with anything more than a common cold. They never had any proof of any of the lies

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they wrote about us in their reports. Even though they hadn't yet won a judgement against us in 2019 (our
court date was in June) they went ahead and set another court date for November to terminate our parental
rights to the precious little girl we have always wanted. The hospital, full of racist, prejudice staff who
refused to let us leave and then cut my daughter out of my own body without my consent, did so just to
kidnap her!! They never, ever intended to let us go home with our child. What they are did was not only
wrong, but also illegal!! Not only have we never lived ui the state of Connecticut and they have no
jurisdiction, but they were profiling us from the very beginning saying that there was "absolutely no way
a white woman like me would be with some "dark Arab guy" was if we were "some kind of criminals!"
From the moment we walked in the door, they started accusing us of all kinds of terrible things. By the
time we realized how terrible they were and that they were trying to hurt us, it was too late.
For months, they forced us to drive up to CT from Tennessee weekly to see our daughter (or else we
would not get to see her at all) and refused to send her or our case back down to our home state even
though legally, we have the right to have our case sent to TN according to a law called the Uniform Child
Custody Jurisdiction and Enforcement Act. We even found a statute in their laws stating that a baby born
to a mother who lived out of state would not fall under their jurisdiction. They still refuse to transfer our
case and our daughter to TN saying their courts are "legally allowed" to ignore that law if they choose to,
which is not true! Initially, before Peter had to go back to work for paternity leave, we were able to stay in
New Jersey and commute the 3 hours each way daily to go and see her. Then when my husband went
back to work and we started having to drive up from TN, we had to cut the visits to just once a week,
since the trip is about a 40 hour drive, round trip we were only able to do it once a week and still be able
to get Peter back in time to go to work. Then we were relegated to only getting to see our daughter once
every other week, as we simply couldn't keep driving every week because the drive takes 2-3 days, was
costing us hundreds of dollars for each trip and was leaving us zero free time to spend any family time
with our other two children. On one of our visits in 2019, we showed up on time to the very minute (they
kept telling us that if we don't show up within 5 minutes of our scheduled visit time, they are going to use
it against us in court to say that we don't care about our child. We were on time for every single visit
despite the fact that we had been driving for nearly 20 hours straight and we were completely sleep
deprived and exhausted. They made us wait in the lobby for 2 additional hours to see our baby Sofia. We
were so exhausted we could barely stay awake. Sofia was so sick and congested, she kept farting loudly
and screaming in pain from her terrible gas. The case worker again told us that we were still not allowed
to give her tummy drops for her gas and then wrote lies in his reports that we were "unable to soothe her
because she had severe stranger anxiety and did not like us and did not want us to be her parents." She
was only four months old at the time and did not have stranger anxiety but rather she was very sick and
had severe gas.
Peter and I were made to suffer for months with severe depression, anxiety, and PTSD from being
unlawfully separated from our only daughter. Because we hardly ever got to see her and were alienated
from our child for so long, we had no idea how she liked to be held or rocked or put to sleep and it was
just so very distressing not being able to soothe her or help her as much as we wanted to. We just wanted
to be able to hold her and rock her and make everything all better but we could barely even enjoy our
visits because we are always so exhausted from having to drive (over 1000 miles each way) for so long in
a straight shot without sleep. We got to see her so little, it was like she barely even knew who we were. I
felt like I was dying a little inside every day that we were without her and it's so unfair that we have
barely ever even been given a chance to bond with the daughter we have always dreamed of having. It
isn't fair to me, it isn't fair to her, it isn't fair to her father whom just she looks just like (except she has
my eyes), it isn't fair to her two older brothers, who are the most incredible little people and it isn't fair to

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the rest of both our families who have never even gotten to meet her, including my 95 year old
grandmother, who desperately wants to meet her great- grand baby.
 Sofia's father and I only ever wanted the simplest life. We both have worked so hard in college, grad
school and then in medical school so that we could have nice jobs and a nice house to raise our children. I
had all these life plans for our children of piano lessons and soccer games, violin concerts and ballet
recitals, girl scout meetings and getting to eat all the left over cookies after Santa had left all the children
their presents. I may be just a little white girl from the suburbs of Tennessee but just like anyone else, I
too have a dream. A dream of equality and a dream of getting to raise my children with my Egyptian
born husband without fear of persecution. I have a dream of getting to watch my children grow, getting to
know them and who they are as individuals, helping them stand on their own two feet and doing all the
things any normal person would want in life. I dream of getting to help them study for math tests and
going to book fairs, getting to take them to their first dance, science fairs at school and summer vacations
to Disney world. I dream of one day getting to see them graduate from high school and someday helping
them achieve their own dreams in life. I dream of growing old with my husband, getting to make
Christmas dinner for all my children and their families and sitting around the fireplace, opening presents
and watching all the grandbabies play with their toys. I myself never had much family besides my sister
and my parents. I didn't have any aunts or uncles and I didn't have any cousins. I had distant relatives, but
it wasn't the same and sometimes during the holidays when we had no one to visit, it would get really
lonely. I always wished I had more family, but it was something no one could ever give me. My mother
started hemorrhaging shortly after she had me (just like her mother before her) and wasn't able to have
any more children. I vowed to myself that when I got married and started having children, that I would do
everything I could to give my children the big family that I never had. I vowed to give my children the
gift of each other because it's the only thing I could give them that no one could ever give to me. It's the
only thing that I could ever give them that I never had. Even though I have hypertension, diabetes,
asthma, thyroid disease, PCOS and uterine fibroids, I took a break from medical school just to take off to
have the time to have babies before it was too late because it is so important to me. Pregnancy was never
easy for me; it was very painful and very hard, and I struggled with a lot of health issues. After I myself
started hemorrhaging after my second child, I was terrified I wouldn't be able to have any more children.
My husband and I decided to try at least once more as soon as I was able, for the little girl we have always
dreamed of having. God finally granted our wishes, and our life was just so full of happiness. I was
finally able to realize my dream of getting to play dress up with my little princess and a whole closet full
of smocked baby dresses that I had had since before my first little boy was born.
I want to know, what right do these ignorant, racist, corrupt DCF up in Connecticut have, to steal our
lives, our children and our dreams from us? What right do they have to rob my husband and I of our
children and the family we have worked so hard to give them?! What right do they have to make us
miserable and destroy our lives just because they work for the government and the law allows them to
BULLY anyone they want and profit heavily from it?! It must be nice for people like them. They get to
tuck their families into their worm cozy beds and sleep so sound and peaceful at night, knowing that no
one will be at their doors when they wake up in the morning to steal their families and their children from
them by force. No one will be there to hunt them down to pillage and plunder their lives. And while all of
the super-rich people in America are paying hundreds of thousands and even millions of dollars to fake
their kids records to cheat their way into ivy-league schools, the rest of us commoners down here in the
real world are suffering and paying out all that we own, just to have the privilege of getting to keep our
own children! We are having to pay thousands of dollars and all of our life savings just to fend off all
kinds of ridiculous, erroneous accusations these horrible, corrupt DCF people make. As soon as you

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 prove them wrong, they start tossing out more allegations at you over and over until they have kept your
 children from you and held you up in court for so long, then they start saying that your children "need to
 be adopted out to other people because they need "permanency." What they will never tell you is that the
 real reason they are stealing your children with the hopes of someday adopting them out to other people
 (whom they claim are "more deserving than you") is because tearing your family from you and
 permanently separating your children from each other to "adopt them out" is making them rich beyond
 belief. Just look it up if you don't believe me, how much the state makes off of stealing people's children
 from them claiming neglect or abuse, and then putting them in foster care and adopting them out
sometimes as few as 9 months after the process began. They refused to place our daughter with our family
until she was nearly two years old. Before that, all they ever did was threaten us if we didn't do whatever
they wanted, that they would adopt our child out to the abusive foster family. This is exactly what is
happening to us and everyone has told us (especially the people in Connecticut) that there is simply
nothing we can do because there is no way to "win" against the DCF in Connecticut, and that we need to
just accept our fate because "we are in the system now" and that there is no way out! They want me to
accept the fact that they have stolen my only daughter after cutting her right out of my body against my
will and kidnapping her! I will never accept that. There were several hospital staff who told us that she
would really be "better off with a family of all one race so that she doesn't get "confused," when they
were talking about how we could just "give her up if we wanted to." A mixed-race person is who our
daughter is; no one can change that, and it is certainly nothing to be ashamed of!!! They can lie and keep
it from her, but her father and I believe it is a beautiful thing. It is something that we, as her parents,
would teach her to be very proud of, to not judge people for the color of their skin but to love others and
embrace them for who they are as individuals! It's about being able to have differences with another
person in culture, language, virtue, or otherwise and yet still encompassing a great respect and
understanding for that person's needs and beliefs and feelings as a human being. They want us to just
accept the fate they have paved for us through their corruption and greed and racism saying that because
my husband and I are a mixed race couple, that we must have neglected our daughter somehow in the past
and even if not, then they are pretty sure we will neglect her somehow in the future?! How is it Ok for
them to profile us in this way? They want me to just accept the fact that they have just taken from me one
of the only entities in this world that is worth more to me than the air that I breathe?! She, along with our
now three other children and my husband, are all more valuable to me than then my own life. I will never
accept it. I will never be happy; I will never be whole, and I will never be free until she is home with us
where she belongs.
When my husband and I were at Middlesex hospital, we were held in our room like prisoners until they
took our newborn child from us and the DCF worker told us to "get out." She started laughing at me as I
was crying, begging her not to abduct my newborn child, and as my husband and I told her they would
not get away with what they were doing to us, she said no one would believe us because I obviously
"have mental health issues and that's obviously why I was "screaming and crying hysterically" (even
though I had already been evaluated by the psychologist at the hospital who said that I was fine, not to
mention what descent mother wouldn't be "screaming and crying hysterically" when told by strangers
that they were stealing her newborn from her??!) After I collected myself and stopped crying and was
trying to reason with her, she reported something like we were "cold and uncaring." No matter what we
did or what we said, they would find a way to twist it around and use it against us!! It doesn't even make
any sense and apparently, we are definitely not allowed to have any human emotions at all whatsoever.
She then told us that she "knew" my husband was an illegal immigrant and that she would make sure he
would be deported soon. (my husband has been a citizen in the U.S since he was a child) So just for the

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record, in a matter of 4 days and on the basis of absolutely nothing, they went from accusing us of being
"Muslim terrorists" to being "drug addicts/drug lords running from the law" and then claiming that one or
both of us had "mental health issues." In the following weeks they accused us of many more things, none
of which were true. We are now haunted by those memories. My husband and I both have terrible
nightmares and flashbacks about them torturing us and stealing our baby. Our life will never be the same.
I wake up every day in my own home and open my eyes. I hug and kiss my husband as he leaves for
work. I sit my little boys down at the table to feed them breakfast but as I look out the kitchen window, I
realize I am still their prisoner. In my own home, in my own body, I still feel like their prisoner. We are
forced to live in constant fear that we will never get our daughter back and that we will lose our other
children as well. They made all of these claims about us that we "must be criminals" and we "must be
terrorists," but in reality, they are the criminals who unjustly stole our child and they are the ones
terrorizing us.
 Peter and I have never suffered so greatly psychologically, emotionally and physically than in these last 2
years we have been without our only daughter. We haven't been allowed to see her in person in over 10
months. You will never know what it is to truly suffer until you lose your own flesh and blood child from
your womb. We were never offered any kind of grief counseling or therapy, she was just gone, and we
had to just deal with the stabbing, crushing pain of her loss every day. I miss her so much, some days it
almost seems unbearable! Some days I am able to smile. I put on a happy face and make small talk with
my husband. We laugh and play with our other two children and do our very best to enjoy what little we
have left of our broken life together. I thank God every day for my husband and my boys and the love we
share. I do my best most days to try to forget the terrible things we have recently been through
surrounding Sofie's birth as I find myself dreaming of what it would be like to once again be happy. I
dream of growing old with my husband and watching our children grow up together. We had all these life
plans of Girl Scout meetings and soccer meets, piano lessons and violin recitals, last minute school
projects and summer vacations to Disney world. We worked so hard to build a life for our children and
we worked so hard to have and take good care of our beloved babies. I didn't have them for us so much as
I had them for each other. I wanted them to be able to enjoy having the large family I never had. I was so
sick after our second child's birth; the recovery was so hard, and I was so afraid I might not be able to
have another child. I was afraid I might not be able to have the little girl I have always dreamed of and we
worked so hard to get pregnant with her. The pregnancy was so tough and so painful for me. I was so
miserable and so sick all the time, I just kept thinking it would all be worth it once she was here in my
arms. I would often drearn of what it would be like getting to raise the daughter I worked so long and hard
to have. Now it appears we may never have that chance because of the hatred, racism and corruption of
staff at not only Middlesex hospital but also their affiliated branch of the Middletown CT DCF.


INJURIES:
Our family has suffered immense, immeasurable physical and psychological pain and suffering at the
hands of these very corrupt, racist, prejudice individuals who abuse their power to kidnap our daughter
and destroy our lives for their own gain and profit.
The first attorney we paid thousands of dollars to refused to do anything beneficial for our case. He lied to
us about our case and lied about us to the court on many occasions. He was verbally abusive and
frequently called us derogatory names and after being mistreated by this horrible man many times we
made it very clear not only to him, but also the DCF and to the court that we did not want him

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representing us. The court clerk refused to take any documents we submitted to try to get rid of him and
he flat out refused to withdraw. He purposely deceived us on many occasions and continuously
intentionally tried to incite fighting between the two of us and also between us and DCF for his own
amusement. He never told us what the allegations of us were or what we were ever on trial for and a few
weeks before our supposed "trial" we sent him a revocation of power of attorney that he ignored and we
strongly believe that he lied about us to the court saying we were " in jersey and refusing to come to
court" out of retaliation, the day after the alleged trial when he told us the trial had been postponed to
July. He knew very well we had never called from Peter's parents phone like he claimed to the court and
we can prove it, not to mention he had just spoken to Peters dad who had told him that we had never
made it to Jersey because of all the flooding in the northeast. He also told all of our prospective new
attorneys derogatory things about us so they would not take our case out of retaliation.
My husband and I commuted several hours each way from New Jersey for months to see our daughter
Sofia and then for several more months we commuted 20 hours each way from TN. We held her, kissed
her, feed her, dressed her, changed her, and told her how much we loved her each and every time we took
pictures and videos. Each and every time we were there to see her, she was always very sick and had
severe gas. Even though it is over the counter and the foster parents were allowed to give it to her
whenever they pleased, David Friend the case worker told us we were not allowed to give Sofia Mylicon
drops to soothe her gas. Then he and his hateful, racist supervisors wrote false narratives about how we
"didn't care about Sofia," "she didn't like us and didn't care about us," and that nothing we did with her
was done "the right way." The racist DCF staff set us up to fail from the very beginning because they
intended to adopt out our poor daughter to the Willimantic court clerk Maribelle DeJesus sparks from the
very beginning. We overheard her asking the case worker about "expediting the adoption" when Sofia
was only one month old. We were never given a fair chance to get our child back, never given credit for
any of the efforts we made and never treated fairly. We were never even allowed to tell our side of the
story or have any of our evidence heard. This is not a system of "child protection" but rather it is very
obviously a system of "child kidnapping and human trafficking." I have heard hundreds of stories from
other residents of CT, very similar to ours and the people of Connecticut should not have to face such
terrors every day. It is wrong.
Our daughter was taken from us while I was drugged and recovering from major surgery and we were
never told our rights. Not only do I still feel just as confused today and I was the day she was taken but
also, I have a constitutional and fundamental right to parent the children I worked so hard to have. I have
the right to birth my child how I choose and to choose my own mental health provider when the corrupt
DCF were trying to claim that my husband and I were mentally unfit to raise our children. They refused to
allow us to present evidence from our own independent provider even though it is the law and we have
the right to complain about these abusive DCF staff who are merely abusing their power to keep our child
from us. Hardened criminals have more rights than we have been afforded and we were even denied the
right to have a trial because the judge was so biased against us. We do not feel that we have ever been
treated fairly by the DCF or the Superior Court in Middletown, CT. We were never "homeless drug
addicts, Muslim terrorists or criminals running from the law" as the hospital staff and DCF claimed and
just because we are very upset that they violated our rights and have kidnapped our only daughter from us
at birth certainly doesn't mean that either of us is or was ever mentally insane. They tried very hard to
take our other children from us too and terminate our parental rights to our only daughter based on
nothing but lies and inaccurate information asserted by very racist, prejudice individuals who profit
heavily from adopting her out. We had over 50 notarized letters of recommendation from our friends and
fancily, our church, and our pediatrician as well as 2 of the schools our oldest son has attended but their

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biased court refused to see them or any of our other evidence that we are loving nurturing parents or allow
us to have a "neglect trial" even though it would have been impossible for either of us to neglect Sofia
while in the hospital under medical supervision. We humbly ask this court for a chance that our story be
heard so that we can finally have a chance to have our side of the story to and justice be served for our
daughter, our other children and our family. We believe our daughter has the right to know her real
mother and father who love her very much and miss her dearly. We believe our daughter has the right to
know her own parents, her own brothers, and her real family. We begged them to give us our daughter
back or at least place our child with her family from the day they took her, but they refused. She was not
placed with my husband's family until a couple months before her second birthday. We and our other
children are still not allowed to see her in person. My husband and I love our daughter very much, are
more than capable of providing for her and just want her to come home. We just want justice for our
family!


Relief:
         They unlawfully cooperated to seize our biological daughter from the hospital at three days old
 with baseless, unreasonable, inaccurate claims of "predictive neglect." They had no warrant and no
e.cigent circumstances or any immediate threat of harm. They intentionally, deliberately lied in reports
about us, our family, our other children, and our daughter whom they illegally took into their custody
without any subject matter jurisdiction. They mocked us during interviews about our name, ethnicity,
 religious beliefs, and our biracial family as a whole. They took our daughter at three days old and placed
her in a "pre-adoptive legal risk foster care home" because they never intended to treat us fairly or hear
our evidence to get her placed back into our custody due to the fact that they intended to adopt her out
from the day they took her. The foster Mother was their own friend and colleague who works at the
courthouse as a court clerk in the very same court system that our child was taken in and is related to the
Judge in our case. Instead of acting in our daughter's best interest, they consistently just did whatever
they believed would appease the foster family. They called us derogatory names and mocked us that we
would never get our daughter back. Deliberately lied in their reports about us to keep us from our child,
lied to TN authorities and tried to have them seize our older two children saying they believed our other
children were in "imminent danger" when they knew it was not true. When the TN authorities refused to
take our children from us because we had done nothing wrong, they tried to coerce us to bring our little
boys to Connecticut so they could "assess them" themselves, when really they planned to kidnap our
other children when/if we brought them with us. They berated us and told us that if we didn't bring our
other children, that was a clear indicator that we did not love our daughter and that they were going to
request TPR They refused to tell us what their accusations of us were for removing our newborn daughter
from our care. They made racially derogatory comments and accusations that we must be "homeless drug
addicts, Muslim terrorists and criminals running from the law" because we are a bi-racial. They refused to
offer us assistance for travel to see our child until she was nearly a year old. They refused to offer us any
"services" and lied claiming they we had refused to participate in their services. When none of their other
claims about us parried out, they started making more baseless claims that we were both "mentally ill"
and therefore unfit to parent our daughter even though they had zero proof of such and we already had 2
healthy children in our custody whom we have raised since birth. They used fear mongering to threaten
and intimidate us in every situation and even threatened us with jailtime for contempt for asking to invoke
our right to choose our own mental health provider. They regularly abused us and their power. Every little
thing we said they would intentionally twist it around to manipulate the situation in their favor to

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unlawfully keep our child in their custody. They tried to force us to plead guilty to "child neglect"
claiming that they would not transfer our daughter or our case to our own state of TN unless we did so
and threatened that if we refused, they would vote for TPR and adoption by the foster family. They
threatened us to just plead guilty" even though they knew we had done nothing wrong and that if we did
plead guilty, it would get sent to TN and our other children would be taken from us. We could also be
thrown in prison because child neglect is a class C felony in IN. They forced us to spend thousands of
dollars in various expenses related to illegal kidnapping of our child while they were all making hundreds
of thousands of dollars in federal funds and the foster parents were being paid $2000/month with free
healthcare/daycare to keep our daughter in their custody for no just cause. They punished us for
complaining about their mistreatment by canceling our visits and shortening our bond times that we "were
allowed" to have with our child. They tried on many occasions to get the TN DCS to take our older
children from us and then contacted my ob-gyn's office in 2020 to try to convince the medical staff there
to seize our newbom baby boy (Sofia's little brother) claiming that we might harm him. They were
unsuccessful and none of our other children were ever taken out of our custody, but we are constantly
made to live in fear that someday they might be. They caused us and our families and our other children
immeasurable, immense, distress, suffering, pain both psychological and physical. We never got our
daughter back; her brothers have never even gotten to meet her, and we have not been allowed to see her
in person in over 10 months. We are seeking actual and punitive damages in the amount of 10 million
dollars.




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